                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


DAVID W. THAYER and
STEVEN E. NEWSOME,

                      Plaintiffs,

vs.                                           Case No. 22-3086-SAC

HALEIGH BENNETT and
JEFF BROWN,

                      Defendants.

                               O R D E R

      This case is now before the court upon an amended complaint

signed by David W. Thayer, who is proceeding as a plaintiff pro

se.   Doc. No. 6.    The amended complaint was filed June 15, 2022.

The caption of the amended complaint lists Haleigh Bennett and

Jeff Brown as the only defendants.         The amended complaint shows

Steven E. Newsome as a plaintiff, although he did not sign the

amended complaint.

      Previously, the court directed plaintiff Thayer to either

file an amended complaint or clarify the persons he intended to

name as defendants.   Doc. No. 4.   The court took this step because,

contrary   to   Fed.R.Civ.P.   10(a),   the   caption   of   the   original

complaint did not list as defendants all of the persons referred

to as defendants in the body of the complaint.          The time to do so

was extended to July 6, 2022 in an order filed shortly before the

amended complaint.    Doc. No. 5.

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      The amended complaint has the same problem identified with

the original complaint.       The body of the amended complaint refers

to persons as defendants who are not listed as defendants in the

caption of the amended complaint.          The court will proceed under

the premise that Haleigh Bennett and Jeff Brown are the only

defendants, unless plaintiff files a second amended complaint by

July 7, 2022 which lists other persons as defendants in the

caption.

      Also, the court shall not consider Steven E. Newsome as a

plaintiff under the amended complaint.          Mr. Newsome did not sign

the amended complaint (as required by Fed.R.Civ.P. 11(a)) and he

may not be represented by a non-attorney, such as Mr. Thayer.

Collum v. Benzon, 177 Fed.Appx. 586, 589 (10th Cir. 2019); Perry

v. Stout, 20 Fed.Appx. 780, 782 (10th Cir. 2001); Mehdipour v. City

of Oklahoma City, 1999 WL 114378 *1 n.1 (10th Cir. 3/5/1999).

      In summary, the court will proceed under the premise that

Haleigh Bennett and Jeff Brown are the only defendants plaintiff

is suing in the amended complaint, unless plaintiff files a second

amended complaint by July 7, 2022 which lists other persons as

defendants in the caption.1          And, Steven Newsome shall not be

considered as a plaintiff under the amended complaint.




1 Of course, plaintiff must also describe how each defendant personally acted
to violate plaintiff’s rights in the body of the complaint.

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IT IS SO ORDERED.

Dated this 16th day of June 2022, at Topeka, Kansas.

              s/Sam A. Crow__________________________
              U.S. District Senior Judge




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